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     IN THE DISTRICT COURT OF THE MIDDLE DISTRICT OF
     FLORIDA

     Case No. 5:24-cv-460-TJC-PRL
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     JAMES J. FOSTER, Plainti ,

     VS.

     SUMTER LANDING COMMUNITY DEVELOPMENT
     DISTRICT, VILLAGE CENTER COMMUNITY DEVELOPMENT
     DISTRICT, and DAVID WILLIAMS, Defendants.
     __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __

     PLAINTIFF’S SUR-REPLY
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        DeWeese v. Town of Palm Beach, 812 F.2d 1365 (11th Cir. 1987) held

 unconstitutional, under the 14th Amendment, an ordinance that made it

 unlawful for a man to appear in any public place (other than bathing beaches)

 “without the upper part of his … body covered.” Id. at 1371. The court found that

 in this circuit “a liberty interest in personal dress is protected” and the ordinance

 requiring covering his upper body “is not rationally related to the public health,

 safety, welfare, or other legitimate legislative goal.” Id. at 1366.

        My case ts easily within that precedent. In the “hot, humid Florida

 summers,” for reasons of comfort and health when outdoors I wear a collarless

 tee shirt, but Defendants mandate that I wear a collared shirt on top of my tee

 shirt. This case is, if anything, less defensible than the ordinance in DeWeese.

        The Second Amended Complaint (“SAC”), Doc. 1-1, ¶23, asserts that this

 collar mandate, like the ordinance in DeWeese, does not bene t the public health,

 safety, or welfare, or affect the well-being of others on the courses. Because the

 issue arises on a Rule 12(b)(6) motion, the trial court must con ne its review to

 the four corners of the complaint, draw all inferences in favor of the pleader, and

 accept as true all well-pleaded allegations, such as the above. See authorities

 cited at Doc. 12, pp. 2-3.
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       The SAC also alleges the collar mandate creates health dangers for me

 and other elderly residents of The Villages), ¶¶20-22; no proper governmental

 purpose is served by barring me because my shirt does not have a collar, ¶23;

 whether my shirt has a collar has no effect on the operation of the Executive Golf

 Courses, id.; and the policy is arbitrary and capricious, ¶¶24-25.

       Defendants have not disputed those allegations. Instead, they describe the

 “purpose”for imposing a collar mandate by alleging facts that con ict with other

 facts in the SAC. For instance, Defendants state that “protection of player health

 and safety … justify the requirement of proper golf attire.” Id. at 4. But SAC

 ¶20-23 explains how the collar mandate endangers health and safety. Defendants

 next argue that a collar mandate is needed to maintain “community standards.”

 But SAC ¶¶12-14 explains how in The Villages the collarless tee shirt meets

 community standards. Finally, Defendants suggest, without evidence, that new

 residents might not buy new homes in The Villages if there is no collar mandate.

 Doc. 19, p. 4. That far-fetched contention contradicts facts in SAC ¶¶12-14. And

 DeWeese rejected a similar argument by Palm Beach. 812 F.2d at 1367.

       Defendants attempt to distinguish DeWeese by arguing that the ordinance

 there was directed to “citizens at large.” Id. at 1368-69. But the ordinance here is
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      likewise directed to “citizens at large.” The court used “citizens at large” to

      distinguish from the cases Palm Beach had cited that had upheld the

      governments’ regulating the grooming of their employees, such as police of cers

      and public school teachers. Id. at 1368. By contrast, like the Palm Beach

      ordinance, which could be enforced against anyone who chooses to jog, the collar

      mandate here is directed to the citizens at large because it applies to any member

      of the public who choose to use the golf courses.

             Defendants, Reply, p.7, ask the Court to take judicial notice that certain

      other clubs (mostly elite private country clubs or resorts1) impose collar


      mandates. However,2 SAC ¶26 posits:


      The Executive Golf Courses are equivalent to countless municipal courses
      found elsewhere in the United States. With rare exceptions, all courses in
      that classi cation allow collarless shirts, re ecting the obligation of governments
      to make their recreational facilities available to all, irrespective of social class.



      The Court should deny the Motion.


      1 By contrast, Defendants’ facilities, being
                                                 9-hole “executive” golf courses, are, by de nition,
      smaller, mostly par-three layouts. None have clubhouses or similar indoor facilities, but only
      starter shacks. ¶6. They have recently become notorious for shabby, almost unplayable
      conditions and several have been forced to close for “rest and rehabilitation.” Id.


      2 Defendants argue a golf course is not a “public forum,” Reply, p.8., but that is irrelevant, as

      this is not a free speech case. Defendants also argue that a judge may set dress standards for his
      courtroom, id., but neither I, nor DeWeese, would suggest otherwise.
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                     CERTIFICATE OF SERVICE

 I certify that I served this Sur-Reply by email on Counsel for Defendants today.

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 June 5, 2025
